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Attorneys for Plaintiffs and the Putative Class

                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH


 SHERRY TERESA, individually and on behalf of
 all others similarly situated,                         PLAINTIFF’S MOTION TO ACCEPT
                                                        OUT OF TIME OPPOSITION TO
                        Plaintiff,                      DEFENDANT’S MOTION TO
                                                        DISMISS THE FIRST AMENDED
        v.
                                                        COMPLAINT
 MAYO FOUNDATION FOR MEDICAL
                                                             Civil No. 4:24-cv-00033-AMA-PK
 EDUCATION AND RESEARCH,
                        Defendant.                         District Judge Ann Marie McIff Allen
                                                               Magistrate Judge Paul Kohler


                                            MOTION

       Relief Requested: An Order accepting plaintiff’s out of time Opposition to Defendant’s

Motion to Dismiss the First Amended Complaint (the “Motion”), attached (the “Memorandum”).

       Grounds: Plaintiff missed the filing deadline of yesterday due to the inability to locate the

correct Exhibit C and misunderstanding of which counsel would file. Plaintiff, at 9:13 a.m. this

morning requested counsel for defendant to stipulate to its out of time memorandum. Plaintiff has
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not yet heard any response to that request, so files this motion. The neglect in not having the

correct exhibit for the Memorandum was not detected until late yesterday evening, when it was

too late to find and file it before the deadline. In the circumstances, that neglect should be deemed

excusable and the Memorandum accepted.

                                        MEMORANDUM

       This Motion, being filed the day after the due date, requires a showing of excusable

neglect. See Fed. R. Civ. P. 6(b)(1)(B). “The Tenth Circuit [has] noted that when determining

excusable neglect ‘a court may take into account whether the mistake was a single unintentional

incident (as opposed to a pattern of deliberate dilatoriness and delay), and whether the attorney

attempted to correct his action promptly after discovering the mistake.’ Further, the Tenth

Circuit recognized that an isolated mistake ‘could occur in any attorney's office, no matter how

well run.’” Miller v. Power, No. 2:20-cv-00210-DBB, 2023 U.S. Dist. LEXIS 190374, at *7 (D.

Utah Oct. 20, 2023) (unpublished) (citations omitted). Therefore, this factor in determining

excusable neglect, although important, “is not independently dispositive.” Id. at *8.

       Thus, in the circumstances of the case before it, the United States Court of Appeals for

the District of Columbia Circuit, in Yesudian ex rel. United States v. Howard Univ., 270 F.3d

969, 971 (D.C. Cir. 2001) affirmed the district court’s acceptance of a late filing where a

mistake, “[f]oolish as this may have been,” caused only a brief delay, was without bad faith,

caused no prejudice to the other side, and had no material effect on the proceedings. See id. This

is consistent with the United States Supreme Court’s reading of the rule:

       First, the Rule grants a reprieve to out-of-time filings that were delayed by
       “neglect.” The ordinary meaning of “neglect” is “to give little attention or
       respect” to a matter, or, closer to the point for our purposes, “to leave undone or
       unattended to esp[ecially] through carelessness.” Webster's Ninth New Collegiate
       Dictionary 791 (1983) (emphasis added). The word therefore encompasses both
       simple, faultless omissions to act and, more commonly, omissions caused by



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       carelessness. Courts properly assume, absent sufficient indication to the contrary,
       that Congress intends the words in its enactments to carry “their ordinary,
       contemporary, common meaning.”

Perrin v. United States, 444 U.S. 37, 42, 62 L. Ed. 2d 199, 100 S. Ct. 311 (1979). Plaintiff’s

counsel was working late into the night on the memorandum, and did not have the correct exhibit

C. It was too late to look for, find and file the correct exhibit, so finding and filing was deferred

until the following day.

       There is unquestionably no bad faith in the delay, no material effect on the proceedings

and no prejudice to defendant. Counsel did not intentionally have a defective exhibit it needed to

correct before filing and or create the late hour. In this case, the shortness of delay, and of

prejudice and lack of bad faith lead to the conclusion that in determining excusable neglect,

although important, “is not independently dispositive.” Miller, 2023 U.S. Dist. LEXIS 190374, at

*8.

       Plaintiff therefore respectfully requests that the court accept its out of time Memorandum,

attached hereto as Exhibit A.

                                          CONCLUSION

       For the foregoing reasons, the Motion should, respectfully, be granted.

Dated: September 19, 2024                      Respectfully submitted,

                                               PETERS ❘ SCOFIELD
                                               A Professional Corporation

                                               /s/ David W. Scofield
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                                                      -and-
                                               HEDIN LLP
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                                               * Pro Hac Vice Application Forthcoming

                                               Counsel for Plaintiffs and Putative Class




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